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 0     G. Habeas Corpus/                        0      H. Employment                            0 I. FOiA/Privacy Act                           0     J. Student Loan
          2255                                         Discrimination
 D 530 Habeas Corpus - General                   D 442CivilRights - Employment                   D 895Freedom oflnformatlon Act                  D152Recovery of Defaulted
 D 510Motion/Vacate Sentence                                (criteria: race, gender/sex,         D 8900ther Statutory Actions                        Student Loan
 D 463 Habeas Corpus - Alien                                national origin,                              (if Privacy Act)                           (excluding veterans)
            Detainee                                        discrimination, disability, age,
                                                            religion, retaliation)

                                                *(If pro se, sel ect this deck)*                 *(If pro se, select this deck)*

 0     K.    Labor/ER/SA                         0 L. Other Civil Rights                        0     M. Contract                               0     N. Three-Judge
             (non-employment)                                 (non-employment)                                                                        Court
                                                                                                 D110 Insurance
  D 710 Fair Labor Standards Act                  D 441 Voting (if not VotingRights              D120Marine                                     D 441Civil Rights - Voting
  D 720Labor/Mgmt.Relations                             Act)                                     D 130 Miller Act                                    (if Voting Rights Act)
  D740Labor Railway Act                           D 443 Housing/Accommodations                   D 140 Negotiable Instrument
  D 751Family and Medical                         D 440 Other CivilRights                        D150Recovery of Overpayment
          Leave Act                               D 445 Americans w/Disabilitics -                    & Enforcement of
  D    790 Other Labor Litigation                       Employment                                    Judgment
  D    791 Empl. Ret. Inc. Security Act           D 446 Americans w/Disa bilities -              D153Recovery of Overpayment
                                                            Other                                     of Veteran's Benefits
                                                  D 448 Education                                D160Stockholder's Suits
                                                                                                 D190 Other Contracts
                                                                                                 D195Contract Product Liability
                                                                                                 D196Franchise


 V.ORIGIN

 (:) I Original        0 2Removed 0 3Remanded                      0 4Reinstated 0 5 Transferred              0   6 Mul ti-district    0 7 Appeal to          Q 8 Mul ti-<ilstrlct
     Proceeding             from State        from Appellate         or Reopened         from another             Litigation               District Judge       Litigation-
                            Court             Court                                      district (specify)                                from Mag.            Direct File
                                                                                                                                           Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
  44 U.S.C. § 2204(e), declaring congressional select committee's request to NARA to be unlawful and unconstitutional
 VII. REQUESTED IN                       CHECKJF THIS IS A CLASS                   DEMAND$
      COMPLAINT
                                       D ACTION UNDERF.R.C.P.23                        JURY DEMAND:
                                                                                                                                      Check YES only if demanded in complaint
                                                                                                                                      YESLJ            NO[XJ


 VIII. RELATED CASE(S)                         (See instruction)                   YESLJ                  NO      [KJ                 If yes, please complete related casc fonn
       IF ANY

 DATE:             October 18, 2021              I SIGNATURE OF ATTORNEY OF RECORD                                            ls/Jesse R. Binnall

                                               INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                             Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently,a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil coversheet. These tips coincide with the Roman Numerals on the cover sheet.

            I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAJNTIFF/DEFENDANT {b) County of residence: Use 11001 to indicate plaintiff if resident
                        of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiffis outside the United States.

            III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed 2lili', if diversity of citizenship was selected as the Basis of Jurisdiction
                        under Section II.

            IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                        represents the l2lllD.l!..Ol cause of action found in your complaint. You may select only �category. You lllllil a !so select� corresponding
                        nature of suit found underthe category ofthe case.

            VI.         CAUSE OF ACTION: Cite the U.S. Civil Statuteunderwhich you are filing and write a briefstatement ofthe primary cause.

            VIII .      RELATED CASE(S), IF ANY: If you indicated that thereis a related case, you must complete a related case f orm, which maybe obtained from
                        the Clerk's Office.

            Because of the need for accurate and complete information,you should ensure theaccuracy ofthe information provided prior to signing the form.
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                                   Attachment

Section 1 – Defendants:

BENNIE G. THOMPSON, in his official capacity as Chairman of the United States
House Select Committee to Investigate the January 6th Attack on the United States
Capitol;

THE UNITED STATES HOUSE SELECT COMMITTEE TO INVESTIGATE THE
JANUARY 6TH ATTACK ON THE UNITED STATES CAPITOL;

DAVID S. FERRIERO, in his official capacity as Archivist of the United States;

THE NATIONAL ARCHIVES AND RECORDS ADMINISTRATION.
